UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________________

AMERICAN BIO MEDICA CORPORATION,

                                    Plaintiff,
      -against-
                                                                 Civil Action No.:
TODD BAILEY, APRIL BAILEY,                                       1:17-cv-00302, TJM-DJT
PREMIER BIOTECH, INC., PREMIER BIOTECH LABS,
LLC and PECKHAM VOCATIONAL INDUSTRIES, INC.,

                              Defendants.
____________________________________________________



     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS
          BY DEFENDANTS TODD BAILEY, APRIL BAILEY,
     PREMIER BIOTECH, INC. AND PREMIER BIOTECH LABS, LLC


                                     April 6, 2017


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                                                                      v
                               PRELIMINARY STATEMENT

       Defendants Todd Bailey, April Bailey, Premier Biotech, Inc. (“Premier”), and Premier

Biotech Labs, LLC (“Premier Labs”) (collectively, “Premier Defendants”) respectfully submit this

Memorandum of Law in Support of their Motion to Dismiss Plaintiff's Verified Complaint

(“Complaint”), pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6).            This

Memorandum incorporates by reference the affidavits of Todd Bailey, April Bailey and Joseph M.

Windler, submitted herewith.

       Todd Bailey and April Bailey are Minnesota residents who conduct business through

Minnesota entities, Premier and Premier Labs. Todd Bailey previously was affiliated with

Plaintiff, first as an employee from April 2001 to September 2011, and then as a 1099 consultant

from September 2011 until Plaintiff terminated the consulting relationship on December 23, 2016.

While affiliated with the Plaintiff, Todd Bailey assisted in managing a public contract between the

Plaintiff and the Michigan Department of Corrections (“DOC”) that is set to expire in June 2017,

and he had contact with a Community Rehabilitation Organization (“CRO”), Defendant Peckham

Vocational Industries, Inc. (“Peckham”), located in Michigan. April Bailey is a Minnesota resident

with no ties to Plaintiff. Premier and Premier Labs are Minnesota businesses also not affiliated or

connected with Plaintiff.

       This case is allegedly about the Premier Defendants’ interference with an alleged contract

between Plaintiff and DOC, and an alleged contract between Plaintiff and Peckham. Plaintiff

accuses Todd Bailey of using confidential and proprietary information obtained by working with

Plaintiff and soliciting a customer (DOC) and a distributor (Peckham) in breach of his employment

agreement. But any information related to Plaintiff’s relationship to or previous contract with

DOC is public, and Todd Bailey’s noncompete clause expired in September 2012, one year after

Mr. Bailey’s employment was terminated. Plaintiff accuses April Bailey, Premier and Premier


                                                1
Labs of tortiously interfering with an alleged contract between Plaintiff and Peckham causing April

Bailey, Premier and Premier Labs to be unjustly enriched. However, as Plaintiff admits, Plaintiff’s

contract with DOC is expiring because the “[r]equest for [p]roposals was issued by DOC on

February 3, 2017, [and the] responses [are due] by March 3.” In other words, Plaintiff’s own

allegations reveal that the DOC has not awarded Defendants anything; as such, they could not

have been unjustly enriched. Further, Plaintiff has failed to plead that a valid contract between

Plaintiff and Peckham exists – describing the relationship as “an agreement…to cooperate.”

       Todd Bailey, April Bailey, and Premier Labs move to dismiss Plaintiff’s Complaint for

lack of personal jurisdiction. Under United States Supreme Court authority and New York law,

these Defendants are not subject to general jurisdiction because they do not have substantial forum

contacts arising from their conduct that are so continuous and systematic to render them essentially

at home in New York. They are also not subject to specific jurisdiction because none of them

acted in New York so as to implicate N.Y. Civ. Prac. L. & R. (“CPLR”) 302(a). Exercising

jurisdiction on the facts of this case would violate New York law and the due process rights of

Todd Bailey, April Bailey and Premier Labs.

       Alternately, the Premier Defendants move to dismiss the Complaint for failure to state any

claim for which relief can be granted. First, Todd Bailey did not violate the confidentiality or

noncompete provisions of his employment agreement with Plaintiff or misappropriate Plaintiff’s

“trade secrets” because the alleged confidential and proprietary information is public and his

noncompete provision expired in 2012. Second, April Bailey, Premier, and Premier Labs did not

tortiously interfere with a contract because Plaintiff does not properly allege the existence of any

valid contract, and said Defendants have not been unjustly enriched because Plaintiff fails to allege

that April Bailey, Premier, and Premier Labs have actually received any benefit or gain.




                                                 2
                               PLAINTIFF’S ALLEGATIONS

       Todd Bailey is a Minnesota resident living at 28115 Boulder Bridge Drive, Shorewood,

Minnesota 55331. Compl. ¶ 3; Affidavit of Todd Bailey (“Todd Bailey Aff.”) ¶ 1. 1 He is the

President of Premier and Premier Labs. Compl. ¶ 5; Todd Bailey Aff. ¶¶ 2-3. He is also a former

employee of, and later consultant to, Plaintiff. Id. ¶ 8. Plaintiff’s Complaint does not establish

why the exercise of personal jurisdiction over Todd Bailey is appropriate.

       Premier is a Minnesota corporation with its principal place of business at 723 Kasota

Avenue SE, Minneapolis, MN 55414. Todd Bailey Aff. ¶ 2. Premier Labs is a Minnesota limited

liability company with its principal place of business at 723 Kasota Avenue SE, Minneapolis, MN

55414. Id. ¶ 3. Premier and Premier Labs allegedly are engaged in “the business of providing

products and services not dissimilar from those provided by the Plaintiff.” Compl. ¶¶ 5-6.

       April Bailey is the spouse of Todd Bailey. Id. ¶ 4. She is a Minnesota resident living at

28115 Boulder Bridge Drive, Shorewood, Minnesota 55331. Id. ¶ 4; Affidavit of April Bailey

(“April Bailey Aff.”) ¶ 1. She is the owner of Premier, but she does not have any interest or role

in Premier Labs. April Bailey Aff. ¶¶ 2-3. Plaintiff’s Complaint does not address why the exercise

of personal jurisdiction over April Bailey and/or Premier Labs is appropriate.

       Peckham is a Michigan domestic nonprofit corporation with a principal place of business

at 3510 Capital City Boulevard, Lansing, Michigan 48906. Compl. ¶ 7.

       Todd Bailey was an employee of Plaintiff from approximately April 2001 to September

2011. Compl. ¶ 8; Dkt. No. 2, Affidavit of Melissa A. Waterhouse, sworn to February 24, 2017


1
  The Court is permitted to rely on factual materials and evidence contained in the Affidavits of
Todd Bailey and April Bailey for purposes of ruling on the Premier Defendants’ motion
challenging personal jurisdiction. See Sea Tow Servs. Int’l, Inc. v. St. Paul Fire & Marine Ins.
Co., 779 F. Supp. 2d 319, 322 (E.D.N.Y. 2011) (“While the Court must generally accept well-
pleaded allegations of fact as true when evaluating the plaintiff's prima facie case, the Court may
also, in its discretion, consider evidence outside of the pleadings in resolving the motion.”)


                                                3
(“Waterhouse Aff.”), ¶ 9. From September 2011 to December 23, 2016, Todd Bailey had a 1099

consulting relationship with Plaintiff. Dkt. No. 2, Waterhouse Aff. ¶ 9; Compl. ¶ 18. The

relationship ended when Plaintiff terminated Todd Bailey. Compl. ¶ 18. Plaintiff alleges that

during Todd Bailey’s employment and consulting relationship with Plaintiff he held a “senior

management position,” was the individual responsible for managing Plaintiff’s contract with the

DOC and served as Plaintiff’s primary contact with Peckham. Compl. ¶¶ 9, 12, 15. Plaintiff does

not allege that Todd Bailey transacted business or conducted these activities in New York. 2

       In September 2004, Todd Bailey signed an Employee Compliance Certification

(“Employee Certification”) with Plaintiff. Compl., Ex. A. Plaintiff alleges that Todd Bailey

breached the Employee Certification in two ways allegedly harming Plaintiff’s relationships with

DOC and Peckham: (1) by using confidential and proprietary information as defined in the

Employee Certification to advance the interests of Premier and Premier Labs; and (2) by soliciting

DOC, a customer of Plaintiff, and Peckham a distributor of Plaintiff, within one year of the end of

his employment. Compl. ¶¶ 26-28, 37, 38, Ex. A. Plaintiff’s claims fail because the confidential

and proprietary information is public, and Todd Bailey’s noncompete clause expired in September

2012, one year after his employment with Plaintiff ceased. See Affidavit of Joseph M. Windler

(“Windler Aff.”) ¶¶ 2-5, Exs. 2-5; Compl. Ex. A; Dkt. No. 2, Waterhouse Aff. ¶ 9.

       Plaintiff alleges that April Bailey, Premier, and Premier Labs “persuaded or otherwise

incentivized Defendant Peckham to submit a proposal to supply DOC with drug testing kits in

cooperation with Premier and Premier Labs, rather than with the Plaintiff” (Compl. ¶ 55) and that

this alleged cooperation with Peckham, if it results in a contract with DOC, will cause April


2
 A plaintiff’s activities alone will not confer jurisdiction over a defendant; instead, the court must
analyze the contacts that the “defendant himself creates with the forum.” Walden v. Fiore, 134 S.
Ct. 1115, 1121-22 (2014) (internal quote omitted).


                                                  4
Bailey, Premier, and Premier Labs to “gain significant profits and revenues.” Compl. ¶¶ 60-63

(emphasis added).     However, Plaintiff does not allege that April Bailey and Premier Labs

transacted business in New York or that April Bailey, Premier and Premier Labs have actually

“gain[ed] significant profits and revenues.” Plaintiff also fails to plead that it had a valid and

binding contract with Peckham with which Defendants even could interfere; rather, Plaintiff only

alleges that it had “an agreement with Peckham to cooperate...” Compl. ¶ 53.

       Based on these allegations, Plaintiff alleges a variety of claims: (1) breach of contract

(confidentiality provision) against Todd Bailey; (2) breach of a noncompete clause against Todd

Bailey; (3) misappropriation of trade secrets against Todd Bailey; (4) tortious interference with a

contract against April Bailey, Premier and Premier Labs; and (5) unjust enrichment against April

Bailey, Premier and Premier Labs.

                                           ARGUMENT

I.     THE COMPLAINT SHOULD BE DISMISSED FOR LACK OF PERSONAL
       JURISDICTION OVER DEFENDANTS TODD BAILEY, APRIL BAILEY AND
       PREMIER BIOTECH LABS, LLC

       A.      Legal Standard

       On a Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction, the plaintiff bears

the burden of showing that the court has jurisdiction over a nonresident defendant. Metro. Life

Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560, 566 (2d Cir. 1996). To survive a motion to dismiss,

where no discovery has taken place, the plaintiff must plead factual allegations that constitute a

prima facie showing of jurisdiction. Tamam v. Fransabank Sal, 677 F. Supp. 2d 720, 725

(S.D.N.Y. 2010) (citing Ball v. Metallurgie Hoboken-Overpelt, S.A., 902 F.2d 194, 196-97 (2d

Cir. 1994)). A prima facie showing of jurisdiction requires a plaintiff to plead facts which, if true,

are sufficient in themselves to establish that jurisdiction is proper over defendants. Tamam, 677

F. Supp. 2d at 725.      Pleadings that assert only “conclusory non-fact-specific jurisdictional


                                                  5
allegations” or state a “legal conclusion couched as a factual allegation” are not enough to meet

plaintiff’s burden. Jazini v. Nissan Motor Co., 148 F.3d 181, 185 (2d Cir. 1998). Further, while

a court should “assume the truth of all well-pleaded factual allegations that support a finding of

personal jurisdiction…it should not draw argumentative references in the plaintiff’s favor.”

Kidney v. Webster, 3:16-CV-0831 (LEK/DEP), 2017 WL 758508, *5 (N.D.N.Y. February 27,

2017) (citing Ball, 902 F.2d 194 at 197; Robinson v. Overseas Military Sales Corp., 21 F.3d 502,

507 (2d Cir. 1994)) (internal citations omitted).

       Personal jurisdiction over a defendant in a diversity action is determined by the law of the

forum in which the court sits. Arrowsmith v. United Press Int’l, 320 F.2d 219, 223 (2d Cir. 1963).

Here, that is New York. A court sitting in New York engages in a two-part inquiry to decide

whether it may exercise personal jurisdiction over defendants. “First, [the court] must determine

whether the plaintiff has shown that the defendant is amenable to service of process under the

forum state’s laws; and second, it must assess whether the court’s assertion of jurisdiction under

these laws comports with the requirements of due process.” Kidney, 2017 WL 758508 at *5 (citing

Metro. Life, 84 F.3d at 567).

       There are two bases for personal jurisdiction in New York: (1) CPLR 301, which

authorizes general jurisdiction; and (2) CPLR 302(a), which authorizes specific, or long-arm,

jurisdiction. Kidney, 2017 WL 758508, at *5. Todd Bailey, April Bailey, and Premier Labs are

not subject to personal jurisdiction under either of these grounds. 3




3
 The Premier Defendants do not include Premier in their Rule 12(b)(6) motion to dismiss for lack
of personal jurisdiction.


                                                    6
       B.      Todd Bailey, April Bailey, and Premier Biotech Labs, LLC are not subject to
               general jurisdiction in New York

       CPLR 301 permits the exercise of general jurisdiction where a defendant “engages in a

continuous and systematic course of doing business in New York.” Kidney, 2017 WL 758508 at

*5 (citation omitted). A defendant “is doing business and is therefore present in New York and

subject to personal jurisdiction with respect to any cause of action, related or unrelated to the New

York contacts, if it does business in New York not occasionally or casually, but with a fair measure

of permanence and continuity.” Reich v. Lopez, 38 F. Supp. 3d 436, 454 (S.D.N.Y. 2014) (internal

citation omitted). However, after Daimler AG v. Bauman, 134 S. Ct. 746 (2014), it is unclear

whether New York’s “doing business” standard remains viable. Id. (citation omitted). Under

Daimler, the relevant inquiry is not simply whether the “foreign corporation’s in-forum contacts

can be said to be in some sense continuous and systematic,” but rather “whether that corporation’s

affiliations with the State are so continuous and systematic as to render [it] essentially at home in

the forum State.” Daimler AG, 134 S. Ct. at 761 (2014) (internal citations omitted).

       Todd Bailey, April Bailey, and Premier Labs are not subject to general jurisdiction in New

York under either test. Premier Labs is a Minnesota limited liability company, with its principal

place of business located in Minneapolis, Minnesota. Todd Bailey Aff. ¶ 3. Premier Labs has

never transacted business or been registered to do business in New York, has no contracts to

provide goods or services into New York, and maintains no offices or employees in New York.

Todd Bailey Aff. ¶¶ 6-11. Plaintiff also alleges no facts regarding Premier Labs’ operations, and

makes no attempt to establish that Premier Labs is “essentially at home” in New York. Thus,

Plaintiff has not shown that Premier Labs is subject to general jurisdiction in New York.

       The same is true for Todd and April Bailey. “[F]or general jurisdiction over an individual

to comport with due process, [d]efendants must be domiciled in New York, served in New York



                                                 7
or have otherwise consented to the court’s jurisdiction.” Kidney, 2017 WL 758508 at *5; see also,

Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011) (“For an

individual…the exercise of general jurisdiction is the individual’s domicile.”). Todd and April

Bailey are Minnesota residents. Compl. ¶¶ 3-4. They were not served in New York and have not

consented to jurisdiction in New York. Todd Bailey Aff. ¶¶ 4, 5, April Bailey Aff. ¶¶ 4-5; Dkt.

No. 2, Affirmation of William J. Better, sworn to on February 24, 2017, ¶ 16 (“In an email dated

February 27, 2017, my office informed defendants Bailey, April Bailey…of the instant request…”)

(emphasis added). As a result, the Court cannot exercise general personal jurisdiction over them

without violating due process. See Kidney, 2017 WL 758508 at *5.

       C.     Todd Bailey, April Bailey, and Premier Biotech Labs, LLC are not subject to
              specific jurisdiction in New York

       New York’s long arm statute permits a court to exercise specific personal jurisdiction over

an out-of-state domiciliary who:

       1. transacts any business within the state or contracts anywhere to supply goods or
       services in the state; or
       2. commits a tortious act within the state ...; or
       3. commits a tortious act outside the state causing injury to person or property
       within the state, ... if he
               (i) regularly does or solicits business, or engages in any other persistent
               course of conduct, or derives substantial revenue from goods used or
               consumed or services rendered, in the state, or
               (ii) expects or should reasonably expect the act to have consequences in the
               state and derives substantial revenue from interstate or international
               commerce.

Kidney, 2017 WL 758508 at *6 (citing CPLR 302(a)).

              1.      The Court does not have long-arm jurisdiction over Defendants Todd
                      Bailey, April Bailey or Premier Labs under CPLR 302(a)(1)

                      a)     Defendants Todd Bailey, April Bailey and Premier Biotech
                             Labs, LLC do not transact business in New York




                                                8
       Todd Bailey, April Bailey, and Premier Labs are not subject to specific jurisdiction in New

York under CPLR 302(a)(1). Jurisdiction is proper under section 302(a)(1) only when: (1) the

defendant has transacted business in New York; and (2) the cause of the action arises out of the

subject matter of the transacted business. Kidney, 2017 WL 758508 at *6 (citing Beatie & Osborn

LLP v. Patriot Sci. Corp., 431 F. Supp. 2d 367, 387 (S.D.N.Y. 2006). A nonresident “transacts

business” when it has purposefully availed itself of the privilege of conducting activities within

New York, thereby invoking the benefits and protections of the laws. Beatie, 431 F. Supp. 2d at

387 (citations omitted).

       The Second Circuit Court of Appeals has identified the following nonexhaustive list of

factors to consider in determining whether an out-of-state defendant transacts business in New

York under CPLR 302(a)(1):

       (1) whether the defendant has an on-going contractual relationship with a New
       York corporation; (2) whether the contract was negotiated or executed in New York
       and whether, after executing a contract with a New York business, the defendant
       has visited New York for the purpose of meeting with parties to the contract
       regarding the relationship; (3) what the choice-of-law clause is in any such contract;
       and (4) whether the contract requires franchisees to send notices and payments into
       the forum state or subjects them to supervision by the corporation in the forum state.

Agency Rent A Car Sys., Inc. v. Grand Rent A Car Corp., 98 F.3d 25, 29 (2nd Cir. 1996); see also,

Kidney, 2017 WL 758508 at *6. No single factor is dispositive, but rather, a finding of personal

jurisdiction must be based on the totality of the circumstances. Agency Rent A Car, 98 F.3d at 29.

       Plaintiff’s Complaint does not allege that Todd Bailey, April Bailey, or Premier Labs

“transacted business in New York.” Even were that alleged, Todd Bailey, Premier Labs, and April

Bailey have not purposefully availed themselves of the privilege of conducting business in New

York. As for April Bailey and Premier Labs, Premier Labs is a Minnesota company with its

principal place of business in Minnesota, and April Bailey is a Minnesota resident. Todd Bailey




                                                 9
Aff. ¶¶ 1, 3; April Bailey Aff. ¶ 1. Premier Labs has not transacted any business in New York, nor

does it have any ongoing contracts in New York. Todd Bailey Aff. ¶¶ 6, 8. Nor has April Bailey

transacted any business in New York, and she does not have any ongoing contracts in New York.

April Bailey Aff. ¶ 8. She also has never traveled to New York for business. Id. ¶ 6. Therefore,

CPLR 302(a)(1) does not subject April Bailey or Premier Labs to personal jurisdiction in New

York, and as a result, it is not necessary to engage in a due process analysis.

       Nor has Todd Bailey transacted business in New York. Plaintiff’s allegations in the

Complaint surrounding Todd Bailey relate to an expired 2004 Employee Certification. Compl. ¶¶

24-51; Ex. A. Todd Bailey entered into the Employee Certification with Plaintiff on September

20, 2004. Id. Ex. A. But the Employee Certification is not “ongoing” because it expired in

September 2011 when Todd Bailey ceased being an employee of Plaintiff. Dkt. 2, Waterhouse

Aff. ¶ 9; Compl. Ex. A. (showing that the Employee Certification only was applicable when Todd

Bailey was an employee). Following Todd Bailey’s employment termination, he entered into a

1099 consulting relationship where he was an independent contractor for Plaintiff. See Dkt. No.

2, Waterhouse Aff. ¶ 9. Todd Bailey’s 1099 consulting relationship with Plaintiff lasted from

September 2011 until Plaintiff terminated him on December 23, 2016. Dkt. 2, Waterhouse Aff. ¶

9; Compl. ¶ 18; Todd Bailey Aff. ¶ 17.

       Even if Todd Bailey’s Employee Certification or 1099 consulting relationship with

Plaintiff are considered “ongoing” contractual relations with the Plaintiff, based on the totality of

the circumstances, Todd Bailey is still not subject to jurisdiction in New York. 4 First, Todd Bailey

is a Minnesota resident that conducted the majority of his business in Minnesota. Todd Bailey



4
  Todd Bailey has no other contracts in New York besides the expired Employee Certification and
the terminated 1099 consulting relationship. Todd Bailey Aff. ¶¶ 12-13.


                                                 10
Aff. ¶¶ 1, 18. Second, Plaintiff does not allege Todd Bailey negotiated or executed his 2004

Employee Certification or his 1099 consulting relationship in New York or traveled to New York

for the purpose of discussing the Employee Certification or the 1099 consulting relationship. And,

indeed, he did not. Id. ¶¶ 20-21. Third, Todd Bailey’s 1099 consulting relationship did not have

a choice of law provision. Id. ¶ 23. And, finally, the parties did not have a franchisor-franchisee

relationship, so Todd Bailey could not be required to send notices and payment into New York or

be subjected to supervision by a New York corporation. 5 Quite simply, Todd Bailey has not

purposefully availed himself of the privilege of conducting business in New York so as to subject

himself to long-arm jurisdiction under CPLR 302(a)(1).

       Only if the court determines that Todd Bailey transacts business in New York should it

reach the second part of the transacting business test. This part requires Plaintiff’s cause of action

to arise out of the subject matter of the defendant’s transacted business. CPLR 302(a)(1). Here,

the Complaint does not sufficiently allege that Plaintiff’s causes of action “arise out of” or relate

to any “business” that Todd Bailey allegedly transacted. The Complaint alleges that Todd Bailey

breached his Employee Certification to “advance the interests of [] Premier and Premier Labs” and

to “persuade [] Peckham to use the products of [] Premier and Premier Labs … in the context of []

Peckham’s proposal to DOC.” Compl. ¶¶ 27-28, 37-38. But Peckham and DOC are Michigan

entities, and Premier, Premier Labs, and Todd Bailey are Minnesota residents or businesses.

Further, Todd Bailey’s Employment Certificate was executed by Todd Bailey in Minnesota, and

any information that Todd Bailey allegedly used to allegedly breach his Employment Certificate


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  Should the court extend factor four to nonfranchisees, Todd Bailey never was required to send
notice or payments into New York, and indeed, he did not. Todd Bailey Aff. ¶ 22. Also, Todd
Bailey could not be subject to supervision from Plaintiff because he worked for himself as an
independent contractor – the 1099 relationship that Plaintiff itself alleges. Compl. ¶¶ 8, 12, 18;
Dkt. 2, Waterhouse Aff. ¶ 9, 12, 18.


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was accessed and used in either Michigan or Minnesota, not New York. Todd Bailey Aff. ¶¶ 18,

20, 21, 23. Therefore, CPLR 302(a)(1) does not subject Todd Bailey to personal jurisdiction in

New York, and as a result it is not necessary to engage in a due process analysis.

                      b)      Defendants Todd Bailey, April Bailey and Premier Biotech
                              Labs, LCC do not contract to supply goods or services in New
                              York

       Nor are Todd Bailey, April Bailey, or Premier Labs, subject to specific jurisdiction in New

York under the second prong of CPLR 302(a)(1). The second prong of CPLR 302(a)(1) extends

to defendants who “contract anywhere to supply good or services in [New York].” C.B.C Wood

Products, Inc. v. LMD Integrated Logistics Services, 455 F. Supp. 2d 218, 226 (E.D.N.Y. 2006)

(citation omitted). Leaving aside that Plaintiff’s Complaint asserts no nexus between the supply

of goods and services and Plaintiff’s claim, the Complaint does not even allege that Todd Bailey,

April Bailey, or Premier Labs contract anywhere to supply good or services in New York, and in

fact, they do not. Todd Bailey Aff. ¶ 13; April Bailey Aff. ¶ 9. See C.B.C. Wood Products, 455

F. Supp. 2d at 227 (finding no jurisdiction where plaintiff did not assert that the present dispute

involved goods delivered or services to be performed in New York).

               2.     The Court does not have long-arm jurisdiction over Todd Bailey, April
                      Bailey, or Premier Biotech Labs, LLC under CPLR 302(a)(3)

       While the Plaintiff’s Complaint does not address why the exercise of personal jurisdiction

over Todd Bailey, April Bailey and/or Premier Labs is appropriate, the last possible basis for

specific jurisdiction against Todd Bailey, April Bailey and/or Premier Labs is under CPLR

302(a)(3). 6 And, like the previous sections, it does not confer jurisdiction. Section 302(a)(3)


6
  Personal jurisdiction, under 302(a)(2), which permits jurisdiction where a tortious act is
committed within New York, is not applicable to Todd Bailey, April Bailey, or Premier Labs
because the alleged torts committed by them did not take place in New York. See Compl. Cause
of Action Three against Todd Bailey; Causes of Action One and Two against April Bailey,
Premier, and Premier Labs; Id. ¶¶ 52-58.


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permits personal jurisdiction over an out-of-state defendant where the defendant “commits a

tortious act [outside] the state causing injury to person or property within the state…if [the

defendant] (i) regularly does or solicits business, or engages in any other persistent course of

conduct, or derives substantial revenue from goods used or consumed or services rendered, in the

state, or (ii) expects or should reasonably expect the act to have consequences in the state and

derives substantial revenue from interstate or international commerce.” CPLR 302(a)(3).

       As an initial matter, courts determining whether there is injury in New York sufficient to

warrant CPLR 302(a)(3) jurisdiction apply a situs-of-injury test. Whitaker v. Am. Telecasting,

Inc., 261 F.3d 196, 209 (2d Cir. 2001) (citations omitted). The situs of the injury is the location

of the original event that caused the injury, not the location where the resultant damages are felt

by the plaintiff. Id. (citations omitted). Personal jurisdiction is not permitted under Section

302(a)(3) “where the underlying events took place outside New York” and “the occurrence of

financial consequences [happen to take place] in New York due to the fortuitous location of

plaintiffs in New York”. Id. (citation omitted).

       Here, Plaintiff’s Complaint alleges that Todd Bailey misappropriated Plaintiff’s trade

secrets to advance the interests of Defendants Premier and Premier Labs in competing with

Plaintiff to secure the DOC contract, and that April Bailey, Premier Labs, and Premier tortiously

interfered with an alleged agreement between Plaintiff and Peckham by “persuading or

incentivizing” Peckham to submit a proposal to DOC in cooperation with Premier and Premier

Labs rather than with Plaintiff. Compl. ¶¶ 46, 47, 55-57. These allegations are insufficient to

establish long-arm jurisdiction over Todd Bailey, April Bailey and/or Premier Labs.

       The allegations show that the situs of Plaintiff’s injury is not New York, where Plaintiff is

located. It is either in Minnesota or Michigan, where the event that allegedly caused the injury




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must have taken place. Plaintiff’s alleged injury relates to April Bailey and Premier Labs

“persuading and incentivizing” Peckham to submit a proposal with Premier and Premier Labs,

instead of Plaintiff, for a contract in Michigan, and it relates to Todd Bailey’s allegedly

misappropriating trade secrets to advance the interests of Premier and Premier Labs to compete

with Plaintiff for the same Michigan contract. Id. ¶¶ 46, 55. Thus, the injury must have taken

place in either Minnesota, the principal place of business of Premier and Premier Labs and the

domicile of Todd and April Bailey, or Michigan, the principal place of business of Peckham and

the home of the Michigan DOC. Id. ¶¶ 3-7. The fact that Plaintiff may have felt financial

consequences in New York is not enough to support jurisdiction under Section 302(a)(3), and the

Court’s analysis need not go further.    See Whitaker, 261 F.3d at 209; see also AVRA Surgical

Robotics, Inc. v. Gombert, 41 F. Supp. 3d 350, 361-62 (S.D.N.Y. 2014) (finding no personal

jurisdiction when “situs of injury” was in Germany, rather than New York, the plaintiff’s place of

business, where the allegedly disloyal acts of plaintiff’s former German employee all took place

in Germany).

       If, and only if, the Court determines that the situs of the Plaintiff’s injury is in New York

should the Court proceed to analyze a claim under CPLR 302(a)(3), subparts (i) and (ii). And, if

the Court engages in such an analysis here, it will find that Todd Bailey, April Bailey, and Premier

Labs are still not subject to jurisdiction in New York. As discussed above, the Complaint does not

allege that Todd Bailey, April Bailey or Premier Labs regularly do, solicit or engage in business

or derive substantial revenue from goods used or consumed or services rendered in New York.

CPLR 302(a)(3)(i). And, indeed they do not. April Bailey Aff. ¶¶ 6, 8-11; Todd Bailey Aff ¶¶ 6-

15. The absence of any connections between Todd Bailey, April Bailey, or Premier Labs and New

York, along with the fact that the alleged conduct taking place outside New York, demonstrates




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that Todd Bailey, April Bailey and Premier Labs could not expect that the alleged tortious conduct

would have consequences in New York – and such expectation is not alleged in the Complaint,

nor could it be. CPLR 302(a)(3)(ii); see also April Bailey Aff. ¶ 12; Todd Bailey Aff ¶ 25. April

Bailey Aff. ¶ 13. Therefore, Todd Bailey, April Bailey, and Premier Labs are not subject to

jurisdiction in New York under CPLR 302(a)(3).

       As such, the Complaint against Todd Bailey, April Bailey, and Premier Labs should be

properly dismissed under Fed. R. Civ. P. 12(b)(2) because general jurisdiction does not exist under

CPLR 301 or under the constitutional standard in Daimler, and specific jurisdiction does not exist

under CPLR 302.

II.    THE COMPLAINT SHOULD BE DISMISSED UNDER RULE 12(b)(6)

       A.      Motion to Dismiss Standard

       A motion to dismiss is proper when the allegations fail to state a claim upon which relief

may be granted. Fed. R. Civ. P. 12(b)(6). The pleadings are construed in the light most favorable

to the nonmoving party, and the facts alleged in the complaint must be taken as true. Harris v.

Mills, 572 F.3d 66, 71-72 (2d Cir. 2009). The court need not, however, accept the plaintiff’s legal

conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Further, “[t]hreadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id. Mere

“labels or conclusions,” or “a formulaic recitation of the elements” are not enough. Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007). Therefore, “[t]o survive a motion to dismiss, a complaint

must contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible

on its face.” Iqbal, 556 U.S. at 678 (citation omitted). Factual allegations that are merely

consistent with liability fall short of this plausibility requirement. Id. Plaintiffs must provide

sufficient factual information to provide the grounds on which their claim rests and to raise a right

to relief above a speculative level. Twombly, 550 U.S. at 555. A complaint that fails to allege


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facts in support of an essential element of a claim necessarily fails to show a plausible entitlement

to relief.

        B.     Plaintiff Fails to State a Claim Against Todd Bailey for Breach of the
               Confidentiality Clause of the Employee Certification (Cause of Action I)

        Cause of Action I of Plaintiff’s Complaint fails to state a claim against Todd Bailey for

breach of the confidentiality clause of his Employee Certification. To establish a breach of contract

claim under New York law, a plaintiff must show: “(1) the existence of an agreement, (2) adequate

performance of the contract by the plaintiff, (3) a breach of contract by the defendants, and (4)

damages.” Eternity Global Master Fund Ltd. v. Morgan Guar. Trust Co. of N.Y., 375 F.3d 168,

177 (2d Cir. 2004) (citation omitted). Here, Plaintiff’s claim fails because, based on Plaintiff’s

own allegations, Todd Bailey did not breach his Employee Certification.

        Plaintiff alleges that Todd Bailey, in violation of his Employee Certification with Plaintiff,

used confidential or proprietary information acquired in the course of his employment for a

purpose other than to perform his duties with Plaintiff. Compl. ¶¶ 25, 27. However, none of the

alleged confidential or proprietary information used by Todd Bailey is confidential or proprietary.

The Complaint points out that Todd Bailey’s Employee Certification defines proprietary

information as “business plans and strategies, financial information, forecasts, marketing strategies

and information, information regarding customers and their specialized requirements, and

information regarding customer contracts.” Id. ¶ 26, Ex. A (emphasis added). The Complaint

further alleges that the confidential information that Todd Bailey allegedly used to breach his

Employee Certification consists of “the specialized requirement of Plaintiff’s relationship with

DOC, such as the need for the involvement of a CRO, Defendant Peckham’s availability and

experience in performing that specialized service, and Defendant Peckham’s financial arrangement

with the Plaintiff.” Compl. ¶ 27.



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       But all of this information cited by Plaintiff is public. First, the customer contract between

DOC and Plaintiff, referenced in the Complaint, is publicly available online on the State of

Michigan’s website.     See Windler Aff. Ex. 2, State of Michigan Enterprise Procurement,

Department of Technology Management, and Budget contract between American Bio Medica

Corporation                  and                  DOC,                   available                 at

www.michigan.gov/documents/buymichiganfirst/9200053_260904_7.pdf; Compl. ¶ 11. 7 Second,

any “specialized requirements” for DOC pertaining to a proposed contract are also publicly

available online and cannot be considered confidential. See Windler Aff. ¶ 3, Ex. 3, Bid

Solicitation #007117B0010238 for On-site Drug Test Kits for MDOC, available at

www.buy4michigan.com/bso/external/bidDetail.sdo;jsessionid=8F775BC1AB3F7E0517C2F3E5

B45D3C5A.worker3?bidId=007117B0010238&parentUrl=activeBids                     (hereinafter      “Bid

Solicitation”); see also Robert Half Int’l, Inc. v. Dunn, No. 5:13-CV-974, 2013 WL 10829925, at

*7 n.14 (N.D.N.Y. Oct. 29, 2013) (stating that “to the extent [a customer] publicly posts its needs,

requirements, etc...such information clearly is not confidential.”). 8        Specifically, the Bid

Solicitation makes DOC’s specialized requirements noted by Plaintiff public as it states that “[t]he

solicitation is designated as a Community Rehabilitation Organization (CRO) set aside.” As for

Peckham’s availability and experience in providing CRO services, that too is public. See Windler

Aff. ¶ 4, Ex. 4, Peckham Inc.’s Website, About Us, History/Mission available at


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  In considering a motion to dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6), a
district court must limit itself to facts stated in the complaint, documents attached to the complaint
as exhibits or incorporated in the complaint by reference, and matters of which judicial notice
under Fed. R. Evid. 201. Kramer v. Time Warner Inc., 937 F.2d 767, 773 (2d Cir. 1991). Here,
the Court can review the contract between Plaintiff and DOC because the relationship and contract
between Plaintiff and DOC is incorporated by reference in the Complaint and is public
information. See Id. at 774; Compl. ¶ 11; Fed. R. Evid. 201.
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  The Court is permitted to review the Bid Solicitation because it is incorporated in the Complaint
by reference and is also public information. See Compl. ¶¶ 17, 19-21.


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http://www.peckham.org/About-Us/History-Mission-Values.aspx (“Peckham, Inc., a nonprofit

community rehabilitation organization, is a unique business and human services agency that

values quality, diversity and performance.”) (emphasis added). 9

       Finally, pricing information related to Plaintiff’s contract with DOC cannot be considered

proprietary because it is included in the publicly available contract. See Windler Aff. Ex. 1. And,

Peckham’s financial arrangements with Plaintiff cannot be considered proprietary because

Plaintiff included 2012 financial information in its publicly filed pleadings in this case. See e.g.

Dkt. No. 2, Waterhouse Aff. Ex. D (providing various cost and margin information, including an

e-mail from Doug Casterlin to Todd Bailey stating “there is no cost savings for ABMC sending

bulk product in gaylords to Peckham…If ABMC does not supply the above items to Peckham the

costs savings per test is $.0099.”). Given that Plaintiff’s alleged proprietary and confidential

information is public, Plaintiff’s claim fails because Todd Bailey did not and could not breach the

confidentiality clause of his Employee Certification. See Compl. Ex. A, p. 2 (“My obligation

related to the Information shall remain in effect until such time that the Information is no longer

confidential or secret and is known to the general public.”) (emphasis added); see also Reed,

Roberts Associates, Inc. v. Strauman, 40 N.Y.2d 303 (1976) (holding employee possessed no

confidential information, where the names and addresses of potential customers were readily

available through public sources).

       C.      Plaintiff Fails to State a Claim Against Todd Bailey for Breach of the
               Nonsolicitation Clause of the Employee Compliance Certification (Cause of
               Action II)

       Cause of Action II of Plaintiff’s Complaint fails to state a claim against Todd Bailey

because the nonsolicitation clause of his Employee Certification expired in 2012. Plaintiff alleges


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  The Court is permitted to take judicial notice of Peckham’s CRO status because it is public
information.


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that Todd Bailey violated the one year nonsolicitation clause contained in his Employee

Certification when he solicited DOC, an alleged customer of Plaintiff, and Peckham, an alleged

distributor of Plaintiff. Compl. ¶ 38. However, Todd Bailey’s employment with Plaintiff ended

in September 2011 when Todd Bailey entered into a 1099 consulting relationship with Plaintiff.

Dkt. No. 2, Waterhouse Aff. ¶ 9. This distinction is important because the Employee Certification

only refers to employees, not consultants, and the nonsolicitation clause specifically only

prohibits solicitation one year after employment. Id., Ex. A. This means that Todd Bailey’s

nonsolicitation period ended in September 2012, one year after his termination from employment

with Plaintiff. Id. (emphasis added). As a result, any activities by Todd Bailey following his

termination as a consultant in December 2016 and into 2017 that are alleged to relate to Peckham

and DOC are not in violation of Todd Bailey’s Employee Certification, and Plaintiff’s stated claim

for breach of Todd Bailey’s nonsolicitation clause fails.

       D.      Plaintiff Fails to State a Claim Against Todd Bailey for Misappropriation of
               Trade Secrets (Cause of Action III)

       Plaintiff’s misappropriation of trade secrets claim fails because the alleged proprietary and

confidential information used by Todd Bailey are not trade secrets. “To succeed on a claim for

the misappropriation of trade secrets under New York law, a party must demonstrate: (1) that it

possessed a trade secret, and (2) that the defendants used that trade secret in breach of an

agreement, confidential relationship or duty, or as a result of discovery by improper means.”

Faiveley Transport Malmo AB v. Wabtec Corp., 559 F.3d 110, 117 (2d Cir. 2009) (citation

omitted). New York courts define a “trade secret” as “any formula, pattern, device or compilation

of information which is used in one’s business, and which gives the owner an opportunity to obtain

an advantage over competitors who do not know or use it.” Id. To determine whether information

constitutes a trade secret, New York courts have considered:         (1) the extent to which the



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information is known outside of the business; (2) the extent to which it is known by employees

and others involved in the business; (3) the extent of measures taken by the business to guard the

secrecy of the information; (4) the value of the information to the business and its competitors; (5)

the amount of effort or money expended by the business in developing the information; and (6)

the ease or difficulty with which the information could be properly acquired or duplicated by

others. Id. (citing Ashland Mgmt., Inc. v. Janien, 82.N.Y.2d 395, 407 (1993)).

       Here, Plaintiff alleges that Todd Bailey used proprietary and confidential information

regarding “Plaintiff’s contracts, pricing, product costs, internal sales strategies, legal and

regulatory procedures, and competitive positions within the Plaintiff’s industry” to advance the

interests of Premier and Premier Labs in competing with Plaintiff to secure the DOC contract.

Compl. ¶ 44-46. But as with Plaintiff’s claim for breach of the confidentiality provision in Todd

Bailey’s Employee Certification, the information Plaintiff alleges Todd Bailey misappropriated is

public and cannot be considered a trade secret. See Robert Half, 2013 WL 10829925, at *6 (for

information to be a trade secret it cannot be readily ascertainable from public sources); see also

Windler Aff. Exs. 2, 3.

       First, the status of Plaintiff’s contract with DOC is not a trade secret. The details of the

current contract between Plaintiff and DOC, that is set to expire on June 30, 2017, is publicly

available online. Windler Aff. Ex. 2. The status of a future contract is also public, as the State of

Michigan posted the Request for Proposal (“RFP”) for a contractor to provide drug kits to the DOC

on a publicly available website. Id. Ex. 3. Second, Peckham’s involvement with the continuance

of a contract is not a trade secret. Peckham publicly holds itself out in the marketplace as a CRO,

and the State of Michigan’s RFP publicly states that the solicitation for bids for the on-site drug

test kits is designated as a CRO set aside. Id. Exs. 3-4.




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       Finally, Plaintiff’s allegation that Todd Bailey used “Plaintiff’s internal costs and profit

margins with regard to [Plaintiff’s contract with DOC]” is also not a trade secret because Plaintiff

did not adequately protect it and some of it is already public. Id. ¶ 46. The pricing information for

the current contract set to expire between Plaintiff and DOC is included in the contract publicly

available online. See Windler Aff. Ex. 2. Plaintiff also does not guard the secrecy of the pricing

information for Plaintiff’s expiring contract with DOC as required for information to be considered

a trade secret. See Dkt. No. 2, Waterhouse Aff. Ex. D-E. The Complaint does not contain any

allegations discussing the extent of measures taken to guard the secrecy of the information it

alleges Todd Bailey misappropriated. And, in fact, Plaintiff does not guard the secrecy of this

information. Plaintiff’s filing in this case include documents discussing Peckham’s pricing as

compared to Plaintiff, work instructions for Plaintiff’s Pilot Program with Peckham, and a

December 13, 2016 e-mail from the DOC showing Plaintiff’s pricing on a new item for its expiring

DOC contract. Id. ¶ 33, Ex. D-E. Given that the information Todd Bailey allegedly used is public,

and that Plaintiff did not allege measures taken to guard the secrecy of the information, and actually

disclosed alleged proprietary information, Plaintiff’s misappropriation of trade secrets claim

against Todd Bailey fails.     See generally Reed, Roberts Assoc., 40 N.Y.2d at 308 (when

information is readily discoverable through public sources, the information is not confidential). 10

       E.      Plaintiff Fails to State a Claim Against April Bailey, Premier Biotech, Inc. and
               Premier Biotech Labs, LLC for Tortious Interference with Contract (Cause of
               Action IV)

       Plaintiff’s tortious interference with contract claim fails because Plaintiff does not allege a

valid contract existed between Plaintiff and Peckham. “Under New York law, the elements of

tortious interference with contract are (1) the existence of a valid contract between the plaintiff


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   Reed Roberts also holds that business techniques, such as those referenced here, are not
protectable. 40 N.Y.2d at 309.


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and a third party; (2) the defendant’s knowledge of the contract; (3) the defendant’s intentional

procurement of the third-party’s breach of the contract without justification; (4) actual breach of

the contract; and (5) damages resulting therefrom.” Kirch v. Liberty Media Corp., 449 F.3d 388,

401-402 (2d Cir. 2006) (internal citations omitted).

       Plaintiff’s claim fails because the Complaint does not allege the existence of a valid

contract between Plaintiff and Peckham.       Plaintiff alleges that it had “an agreement with

Defendant [Peckham] to cooperate in submitting a proposal to supply DOC with drug testing

kits.” Compl. ¶ 53 (emphasis added). But this allegation alone does not create an enforceable

contract. In order for the court to invoke the power of the law to enforce a promise, “[the promise]

must be sufficiently certain and specific so that what was promised can be ascertained.” Yan’s

Video, Inc. v. Hong Kong TV Video Programs, Inc., 133 A.D.2d 575, 578 (1st Dept. 1987).

Because Plaintiff fails to plead any specifies regarding the exact promise or contract between

Plaintiff and Peckham, Plaintiff’s alleged agreement with Peckham is not enforceable. See Berman

v. Sugo LLC, 580 F. Supp. 2d 191, 208 (S.D.N.Y. 2008) (tortious inference with a contract claim

dismissed where the plaintiff simply alleged that a contractual relationship existed, but set forth

no facts to allege the type of contract, whether it was nonexclusive, and whether it was valid).

       Further, the allegations contained in the Complaint and supporting documents contradict

the existence of a valid contract. Plaintiff’s Complaint states that “[i]n January of 2017, in

anticipation of the approaching Request for Proposal from DOC, the Plaintiff contacted Defendant

Peckham so that Defendant Peckham could work with Plaintiff in preparing a proposal to DOC”

and that Plaintiff had “multiple conversations” with Peckham. Compl. ¶¶ 19 (emphasis added).

These allegations are negotiations for a potential future contract and do not demonstrate the

existence of a valid contract. See generally Yan’s Video, 133 A.D.2d at 576 (determining that




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plaintiffs’ tortious interference claim was unsupported where material contract terms were left

open for future negotiations). 11 The Complaint and supporting documents also do not show the

existence of a valid contract with Peckham prior to 2016. See Compl. ¶ 14 (describing the

relationship between Plaintiff and Peckham as a “business relationship”); Dkt. No. 2, Waterhouse

Aff. ¶ 23 (stating only that “ABMC worked with Peckham”).

       Finally, the Complaint confirms that it was not possible for Plaintiff to continue the current

“business relationship” with Peckham because the DOC informed Plaintiff that it would be

requesting proposals from CROs directly. Compl. ¶ 17. 12 As a result, Plaintiff’s claim for tortious

interference against April Bailey, Premier, and Premier Labs fails as a matter of law.

       F.      Plaintiff Fails to State a Claim Against April Bailey, Premier Biotech, Inc. and
               Premier Biotech Labs, LLC for Unjust Enrichment (Cause of Action V)

       Plaintiff’s unjust enrichment claim fails because Plaintiff does not allege that April Bailey,

Premier or Premier Labs have been enriched at Plaintiff’s expense. A viable claim for unjust

enrichment claim in New York requires: (1) proof that defendant was enriched, at plaintiff's

expense; and (2) equity and good conscience militate against permitting defendant to retain what

plaintiff is seeking to recover.” Briarpatch Ltd. L.P. v. Phoenix Pictures, Inc., 373 F.3d 296, 306

(2d Cir. 2004). Here, April Bailey, Premier and Premier Labs are not alleged to have been enriched

so Plaintiff’s claim must fail.

       Plaintiff alleges that April Bailey, Premier, Premier Labs, and Peckham “stand to gain

significant profits and revenues as a result of their cooperation in submitting a proposal for a

contract to supply drug testing kits” and that Plaintiff should obtain any “such gains as are



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   Indeed, if Plaintiff and Peckham had a valid contract, one would expect Plaintiff’s Complaint to
include a breach of contract action against Peckham. No such claim is made.
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    The mere existence of the request for proposal confirms that there is no contract between
Plaintiff and DOC with which the Premier Defendants could interfere.


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realized.” Compl. ¶¶ 60, 63. But future gains do not prove that a defendant was enriched. “The

essence of [an unjust enrichment] claim is that one party has received money or a benefit at the

expense of another.” Chevron Corp. v. Donziger, 871 F. Supp. 2d 229, 259 (S.D.N.Y. 2012)

(finding unjust enrichment claim not ripe where the defendants had not received any benefit or

gain yet). Plaintiff also cannot prove that April Bailey, Premier, and Premier Labs have been

enriched because the Complaint does not allege that Premier Labs or Premier have submitted a

proposal with Peckham to DOC or secured a contract with DOC. In fact, the Complaint concedes

the fact that no such contract exists. See Compl. ¶ 61 (stating “[s]uch contract [with DOC], should

it be obtained) (emphasis added). Quite simply, without a contract April Bailey, Premier, and

Premier Labs cannot be unjustly enriched.

       Further, Plaintiff’s statement that its “investments eventually resulted in Defendant

Peckham proving to be a worthy supplier, meeting the standards required by the State of Michigan”

is too vague to be considered a benefit, if that is Plaintiff’s intent. Comp. ¶ 61. It is unclear what

Plaintiff means by “worthy supplier.” If Plaintiff is referring to drug kits, there is no contract yet

as a result of the February 3, 2017 request for proposal so there is no confirmation that Peckham

is considered a worthy supplier of drug kits. And, if Plaintiff is referring to being a “worthy

supplier” generally, Peckham holds itself out publicly as a CRO and is already a CRO for the State

of Michigan. Windler Aff. Ex. 4; see also Windler Aff. ¶ 5, Ex. 5, Annual Report of The

Committee on the Purchase of Goods and Services from Community Rehabilitation Organizations

for       Fiscal       Year        2016,        Dec.        14,       2016         available       at

http://www.michigan.gov/documents/micontractconnect/CRO-SetAside-Report-

FY16_551213_7.pdf (showing in fiscal year 2016 Peckham was one of eight nonprofit CROs

providing goods and services in Michigan and lists those programs - notably absent from the list




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is reference to services Peckham provided to DOC.). Thus, because Plaintiff has not pleaded that

April Bailey, Premier, and Premier Labs have received money or benefit its claim for unjust

enrichment fails and should be dismissed.

       Finally, “equity and good conscience” do not dictate that Plaintiff is entitled to any future

gains on a nonexistent contract. First, there is nothing unjust about competition in an open bidding

process for a state contract. As discussed above, DOC issued a public request for proposal for

drug kits, and because the forthcoming contract will be paid for by the taxpayers of Michigan, it

is arguably in the best interest of the public to have competing offers. Second, because the

Complaint does not allege the existence of a contract between Premier or Premier Labs and DOC

or Peckham there is no guarantee that DOC will select the Defendants’ proposal, or that DOC will

not select Plaintiff even without a CRO. Given Plaintiff’s failure to allege that Defendants have

been enriched and that equity and good conscience require Plaintiff to recover future profits on a

nonexistent contract, Plaintiff’s claim for unjust enrichment against April Bailey, Premier, and

Premier Labs should be dismissed.

                                          CONCLUSION

       For the foregoing reasons, the Premier Defendants respectfully request that the Court

dismiss Plaintiffs’ Verified Complaint.

Dated: April 6, 2017                                 O’CONNELL & ARONOWITZ, P.C.
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